 Case 2:09-cv-00383-CE Document 206 Filed 10/19/10 Page 1 of 2 PageID #: 829



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


RING TECHNOLOGY ENTERPRISES OF
TEXAS, LLC
             Plaintiff,
        v.
                                              CIVIL ACTION NO. 2:09-CV-00383-TJW-CE
(1)    A-DATA TECHNOLOGY (U.S.A.) CO.,
       LTD.,
(2)    ELPIDA MEMORY (USA) INC.,
(3)    HEWLETT-PACKARD COMPANY,
(4)    HEWLETT-PACKARD INTER-
       AMERICAS,
(5)    HITACHI GLOBAL STORAGE
       TECHNOLOGIES, INC.,
(6)    HITACHI COMPUTER PRODUCTS
       (AMERICA), INC.,
(7)    HITACHI ELECTRONIC DEVICES
       (USA), INC.,
(8)    MICRON TECHNOLOGY, INC.,
(9)    MICRON TECHNOLOGY
       SEMICONDUCTOR PRODUCTS, INC.,
(10)   MICRON TECHNOLOGY SERVICES,
       INC.,
(11)   NAN YA TECHNOLOGY
       CORPORATION, U.S.A.,
(12)   SAMSUNG SEMICONDUCTOR, INC.,
(13)   SAMSUNG AMERICA, INC.,
(14)   SAMSUNG INTERNATIONAL, INC.,
(15)   SMART MODULAR TECHNOLOGIES,
       INC.,
(16)   SMART MODULAR TECHNOLOGIES
       (DE), INC.,
(17)   SANMINA-SCI CORPORATION,
(18)   DELL, INC.,
(19)   INTERNATIONAL BUSINESS
       MACHINES CORPORATION,
(20)   SUN MICROSYSTEMS, INC.,
(21)   SUN MICROSYSTEMS OF
       CALIFORNIA, INC.,
(22)   SUN MICROSYSTEMS
       INTERNATIONAL, INC.,
(23)   SUN MICROSYSTEMS FEDERAL, INC.
(24)   KINGSTON TECHNOLOGY
 Case 2:09-cv-00383-CE Document 206 Filed 10/19/10 Page 2 of 2 PageID #: 830



       CORPORATION,
(25)   KINGSTON TECHNOLOGY
       CORPORATION, INC. (DELAWARE),
(26)   ELPIDA MEMORY, INC.,
(27)   A-DATA TECHNOLOGY CO., LTD.,
(28)   NANYA TECHNOLOGY
       CORPORATION,
(29)   SAMSUNG ELECTRONICS CO., LTD.,
       and
(30)   HITACHI, LTD.,

                 Defendants.

                        ORDER OF DISMISSAL WITH PREJUDICE

        In consideration of the parties’ Stipulated Motion for Dismissal of all claims with

prejudice and all counterclaims as moot asserted between plaintiff, Ring Technology Enterprises

of Texas, LLC and defendants A-DATA Technology Co., Ltd. and A-DATA Technology

(USA) Co., Ltd., the Stipulated Motion for Dismissal is GRANTED, and it is ORDERED,

ADJUDGED AND DECREED that all claims asserted in this suit between Plaintiff and

Defendants are hereby dismissed with prejudice and all counterclaims are dismissed as moot,

subject to the terms of that certain agreement entitled “SETTLEMENT AGREEMENT” dated

October 1, 2010.

        It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.

       SIGNED this 19th day of October, 2010.




                                                   ___________________________________
                                                   CHARLES EVERINGHAM IV
                                                   UNITED STATES MAGISTRATE JUDGE
